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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------x
 NICHOLAS MONDELO,
                                                                 CASE NO.
                       Plaintiff,

          v.
                                                                 COMPLAINT
 QUINN, EMANUEL, URQUHART &
 SULLIVAN, LLP, PETER CALAMARI, and                              DEMAND FOR JURY TRIAL
 DAVID ESKANOS,

                        Defendants.
 ------------------------------------------------------------x

                                     JURISDICTION AND VENUE

        1.       Plaintiff brings this action against Defendants Quinn, Emanuel, Urquhart &

Sullivan, LLP, Peter Calamari, and David Eskanos, alleging claims of discrimination on the basis

of his Spanish ethnicity/ancestry/national origin and retaliation in violation of 42 U.S.C. § 1981;

the New York State Human Rights Law (“NYSHRL”), N.Y. Exec. Law § 290 et seq.; and the New

York City Human Rights Law (“NYCHRL”), N.Y. Admin. Code § 8-101 et seq.

        2.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this is an action brought under 42 U.S.C. § 1981. This Court has supplemental jurisdiction

over the state law claims because they are so related to the claims in this action within the Court’s




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original jurisdiction that they form part of the same case or controversy under Article III of the

United States Constitution.

        3.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred in this District.

                                                PARTIES

        4.      Defendant Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), a

California limited liability partnership, is a large business litigation firm -- the largest in the United

States devoted solely to business litigation.

        5.      Quinn Emanuel maintains a New York office in midtown Manhattan.

        6.      Defendant Peter Calamari is a partner at Quinn Emanuel and was the managing

partner of Quinn Emanuel’s New York office until approximately March 2018.

        7.      Defendant David Eskanos was Quinn Emanuel’s Chief Information Officer during

the period of Plaintiff’s employment at Quinn Emanuel.

        8.      Plaintiff Nicholas Mondelo (“Plaintiff”) is Hispanic-American of Spanish ancestry

and national origin who was employed by Quinn Emanuel as Regional Information Technology

Director for U.S. East Coast and Midwest from approximately April 2015 to March 2018, when

he was demoted to the position of New York Information Technology Manager.

        9.      Plaintiff held the position of New York Information Technology Manager until he

was terminated in May 2019.

        10.     Before he was hired by Quinn Emanuel, Plaintiff had a successful 25-year IT career

working at large international law firms, including BakerHostetler, Gibbons, P.C., and Milbank

LLP.




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                                              FACTS

       11.     In approximately April 2015, Plaintiff was hired by Quinn Emanuel as its Regional

Information Technology (“IT”) Director for U.S. East Coast and Midwest.

       12.     In this capacity, Plaintiff was responsible for managing the IT services for Quinn

Emanuel’s offices in New York, Washington D.C., and Chicago.

       13.     Plaintiff reported directly to Defendant Eskanos and Robert Shutt, Quinn

Emanuel’s Director of Information Technology.

       14.     Both Defendant Eskanos and Mr. Shutt were based at Quinn Emanuel’s

headquarters in Los Angeles.

       15.     From the date of his hire until approximately September 2015, Plaintiff—one of

the only Hispanics in Quinn Emanuel’s IT Department and the only employee in the Department

of Spanish ancestry and national origin—was subjected to a constant stream of harassment,

ridicule, and abuse from Mr. Eskanos.

       16.     For example, Mr. Eskanos frequently cursed at and insulted Plaintiff, calling him

“worthless” and “stupid.”

       17.     Mr. Eskanos also frequently mocked and threatened to fire Plaintiff during public

telephone conferences with Plaintiff and Plaintiff’s staff.

       18.     Mr. Eskanos’s abuse escalated in September 2015 when Mr. Eskanos called

Plaintiff a “spic” after Plaintiff informed him that he was traveling to Spain to visit family

members.

       19.     After Mr. Eskanos made this comment, Plaintiff initiated a formal complaint of

hostile work environment against Mr. Eskanos with Debbie Klaeger, Quinn Emanuel’s Director

of Human Resources.




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       20.     Upon information and belief, numerous other complaints, both formal and

informal, had been lodged against Mr. Eskanos by other employees of Quinn Emanuel’s IT

Department alleging racist and sexist behavior by Mr. Eskanos.

       21.     Despite these numerous complaints, Mr. Eskanos, who had been with Quinn

Emanuel since the firm was founded, retained his position as CIO. In fact, Mr. Eskanos had a

reputation within the firm as being “untouchable.”

       22.     After receiving Plaintiff’s complaint about Mr. Eskanos’s blatant racism and ethnic

hostility, Quinn Emanuel continued to not only employ Mr. Eskanos in a position of authority, but

also continued to require Plaintiff to work under him.

       23.     Quinn Emanuel never informed Plaintiff of any disciplinary action taken against

Mr. Eskanos for his vile slur and/or his racism against Plaintiff. Nothing material changed in terms

of Mr. Eskanos’s position as Quinn Emanuel’s CIO or his overall authority over Quinn Emanuel’s

IT Department.

       24.     The only action Quinn Emanuel took in response to Plaintiff’s complaint of which

Plaintiff is aware, was to inform Plaintiff that Peter Calamari, the then-managing partner of Quinn

Emanuel’s New York office, and Richard Schirtzer, the then-managing partner of Quinn

Emanuel’s Los Angeles Office, would act as a “buffer” between Plaintiff and Mr. Eskanos.

       25.     Under this arrangement, from approximately October 2015 through March 2018,

Plaintiff continued to receive instructions from Mr. Eskanos though IT Managers in Quinn

Emanuel’s Los Angeles office (including Robert Shutt) and had to directly interface with Mr.

Eskanos to obtain his approval for certain issues, but could request assistance from Mr. Calamari

in Quinn Emanuel’s New York office.




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       26.     This arrangement allowed Mr. Eskanos to continue singling Plaintiff out and

sabotaging Plaintiff’s ability to succeed at the firm.

       27.     For example, before Plaintiff traveled to Quinn Emanuel’s offices in Washington

D.C. or Chicago, he was required to submit to Mr. Eskanos “executive reports” detailing all the

reasons justifying the need for his travel, which Mr. Eskanos frequently denied or questioned.

       28.     Plaintiff was informed by his counterpart Regional IT Directors in Quinn

Emanuel’s Los Angeles and European offices that Mr. Eskanos never requested such justification

for their travel, and simply approved their travel expense reports.

       29.     Mr. Eskanos also interfered with Plaintiff’s ability to service the attorneys in the

offices for which Plaintiff was responsible. For example, Quinn Emanuel generally leased the

computers used by attorneys and other staff. Several times per year, the leases on a portion of the

computers in Quinn Emanuel’s New York office would expire. One of Plaintiff’s duties was to

order the new computers necessary to replace those for which the leases were expiring. Plaintiff

submitted his order requests to Mr. Eskanos for approval. Mr. Eskanos on numerous occasions

refused to act on Plaintiff’s order requests despite Plaintiff’s numerous requests for him to do so,

which resulted in the new computers not being received in time to be installed before the leases on

the old computers expired. After this occurred, Mr. Eskanos would aggressively question Plaintiff

as to why the new computers had not been installed and why Quinn Emanuel was incurring

additional expenses on the computers with expired leases. In conversations with Plaintiff’s

counterpart Regional IT Directors he was informed that they did not experience the same delayed

approval for their budgeting requests from Mr. Eskanos.




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       30.     Eventually, Plaintiff brought this issue to the attention of Mr. Schirtzer. Again,

Quinn Emanuel refused to discipline or take any action against Mr. Eskanos. Instead, Mr. Schirtzer

simply took over responsibility for approving Plaintiff’s budgeting requests and order forms.

       31.     Mr. Eskanos also sabotaged Plaintiff by imposing unrealistic deadlines and refusing

to provide Plaintiff with the resources necessary to perform his duties. For example, when the

computer leases expired on a group of computers in Quinn Emanuel’s New York office, Plaintiff

was required to remove and replace approximately 150 old computers and then install and set up

the new replacement computers. Even though the New York office was Quinn Emanuel’s largest

office, Mr. Eskanos required Plaintiff to complete this task within two weeks but never approved

overtime for Plaintiff or his staff to complete the project within that timeframe. Plaintiff was

informed by his counterpart Regional IT Directors that Mr. Eskanos regularly approved overtime

for their staff to complete such replacements.

       32.     In approximately early 2018, Quinn Emanuel moved the location of its Washington

D.C. office. Plaintiff was responsible for overseeing the move of all Quinn Emanuel’s IT

infrastructure from the old office location to the new office. The goal was to complete the IT move

over the course of a long weekend in January 2018.

       33.      In preparation, Plaintiff prepared a budget for the resources needed to effectively

and efficiently accomplish this task within the goal timeframe. He first presented the draft budget

to Mr. Calamari, who assisted him with crafting a letter to Mr. Eskanos explaining the reasons for

the requested budget.

       34.     After Plaintiff forwarded the budget to Mr. Eskanos, he was informed by Mr.

Schirtzer that his budget request had been denied because Mr. Eskanos felt that it was “too much.”

Mr. Schirtzer also told Plaintiff that he was being stripped of his responsibility for the Washington




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D.C. move, that Mr. Eskanos would handle it, and that Mr. Eskanos had ordered Robert Shutt to

take over responsibility for the move. Thus, rather than protecting or assisting Plaintiff, Mr.

Schirtzer instead enabled and carried out Eskanos’s discriminatory and retaliatory actions.

       35.      Mr. Shutt failed to complete the move within the long weekend timeframe, leaving

incomplete the setup of numerous computers, printers, and other IT infrastructure. Plaintiff was

required to spend nearly one additional month completing the move and correcting errors caused

by Mr. Shutt.

       36.      Throughout the period Mr. Calamari acted as the “buffer” between Plaintiff and

Mr. Eskanos, Plaintiff informed Mr. Calamari on numerous occasions about Mr. Eskanos’s

unequal treatment and interference with his ability to do his job. Despite his numerous complaints

to Mr. Calamari, Quinn Emanuel took no action against Mr. Eskanos during this period. Instead,

Mr. Calamari simply advised Plaintiff to “try to work it out” before bothering him with any issues.

       37.      In approximately March 2018, Mr. Calamari informed Plaintiff that he would no

longer be the managing partner of Quinn Emanuel’s New York office and therefore the

arrangement by which Mr. Calamari acted as the “buffer” between Plaintiff and Mr. Eskanos

would not continue.

       38.      The same month the “buffer” arrangement ended, Quinn Emanuel – without

informing Plaintiff – hired Kenneth Mitchell into Quinn Emanuel’s Washington D.C. office and

gave him Plaintiff’s title of Regional IT Director for the U.S. East Coast.

       39.      When Mr. Mitchell was hired, Quinn Emanuel demoted Plaintiff to IT Director for

only Quinn Emanuel’s New York office and stripped him of his responsibilities for Quinn

Emanuel’s Washington D.C. and Chicago offices.




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           40.   Plaintiff only learned about Mr. Mitchell’s hiring and his demotion in an email sent

by Mr. Mitchell introducing himself to the office.

           41.   Under the new arrangement, Mr. Mitchell reported directly to Mr. Eskanos, and

Plaintiff reported to Mr. Mitchell.

           42.   From March 2018 through May 2019, Mr. Eskanos, through Mr. Mitchell,

continued his practice of singling Plaintiff out for discriminatory and retaliatory treatment by

imposing unreasonable expectations, denigrating the quality of his work, and setting him up for

failure.

           43.   In approximately December 2018, Plaintiff was approved to take occasional leave

pursuant to the Family Medical Leave Act (“FMLA”) to care for his son – a veteran who suffered

from post-traumatic stress disorder (“PTSD”).

           44.   Beginning in approximately early 2019, a major issue faced by Quinn Emanuel’s

IT department was the upgrade of all Quinn Emanuel’s computers from Windows 7 to Windows

10.

           45.   The Windows 10 rollout faced significant difficulties in all of Quinn Emanuel’s

offices. In the London office, for example, the Windows rollout was put on hold after the attorneys

in that office experienced significant issues with the new operation system and the IT Director of

the London office, Kurt Pfaender, complained to Mr. Eskanos that the rollout was not feasible.

           46.   Despite the negative experience of the London office, Mr. Eskanos, through Mr.

Mitchell, continued to push Plaintiff to complete the rollout of Windows 10 in the New York

office.

           47.   At that time, Quinn Emanuel’s New York office was its largest office in the world

in terms of the number of users who needed to have their computer systems upgraded to Windows




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10. Adding to the complexity of the Windows 10 rollout in the New York office was the fact that

the servers used by the computer systems in New York were in Los Angeles, not New York.

       48.     In an attempt to complete the rollout in a manner that caused the least disruption to

the attorneys in the New York office, Plaintiff began testing Windows 10 with a small group of

partners, including Andrew Charlson, Kevin Reed, and Todd Antem.

       49.     The Windows 10 testing on this test group was a disaster. Over the course of several

months, Plaintiff and his team received numerous complaints from the partners in the group that

their machines and software on those machines were not working with the new operating system.

Exacerbating the issue was that each time a partner experienced a difficulty with the new system,

Plaintiff and his team had to reimage the entire hard drive of the faulty computer, copy all the files

to a new computer, and give the partner a new system. This caused extreme disruption to the

partners’ work.

       50.     As a result of the constant disruption, partners in the test group began refusing

Windows 10.

       51.     As a result of the negative experiences of the test group, Plaintiff informed Mr.

Mitchell that the New York office, like the London office, was not ready for a full-scale rollout of

Windows 10 and that additional preparatory work had to be done before changing over all

machines in the office to Windows 10.

       52.     As IT Director for the New York office, Plaintiff was accountable to, and received

his performance reviews and evaluations from, the attorneys and partners in that office. Moreover,

whenever those partners and other attorneys had an IT issue, they dealt with Plaintiff and his team,

not the LA office. Thus, if the full-scale rollout of Windows 10 caused major issues in the New

York office – which the experiences of the test group showed that it would – Plaintiff would suffer




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the repercussions and be held directly responsible for those issues by the New York

partners/attorneys.

       53.      Mr. Mitchell rejected Plaintiff’s concerns about the Windows 10 rollout, informing

him that it was “LA’s orders” – i.e., Mr. Eskanos’s orders – that the full-scale rollout of Windows

10 be completed in the New York office.

       54.      In the Spring of 2019, Plaintiff sought assistance from Peter Calamari, informing

Mr. Calamari about his concerns with the Windows 10 rollout and about the order to complete that

rollout for the New York office. Calamari refused to assist Plaintiff.

       55.      Faced with orders to complete the rollout, but knowing that he would reap the

repercussions of any issues caused by the rollout in the New York office, Plaintiff repeatedly asked

Mr. Mitchell to notify all attorneys and staff in the New York office that the Windows 10 rollout

was being completed at the direction of Mr. Eskanos as Quinn Emanuel’s CIO.

       56.      In approximately April 2019, Plaintiff met with Mr. Mitchell and Ms. Fogler, who

informed him that he had to “follow orders” received from the LA office (i.e., from Eskanos) “no

matter what.”

       57.      During the meeting, Plaintiff showed Mr. Mitchell and Ms. Fogler the emails from

partners in the test group complaining about the Windows 10 system.

       58.      Plaintiff informed Ms. Fogler and Mr. Mitchell that he was being targeted by being

required to roll out a system that Mr. Eskanos knew had serious issues and would cause major

disruption in the New York office.

       59.      Plaintiff expressed his view that if Mr. Eskanos wanted the rollout to occur despite

the numerous issues that had been experienced by the test group, then it was incumbent upon him

to notify all the New York partners that the rollout was being done at his direction.




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       60.     In response, Mr. Mitchell and Ms. Folger told Plaintiff that Mr. Eskanos “would

not accept responsibility for that.”

       61.     It was thus apparent that not only was Mr. Eskanos willing to sacrifice the

productivity of the firm’s entire New York office for the sole purpose of humiliating Plaintiff and

that Quinn Emanuel, rather than protecting Plaintiff, was allowing Mr. Eskanos to do it.

       62.     To be clear, by this point, Quinn Emanuel knew that Mr. Eskanos had openly called

Plaintiff a “spic.” Quinn Emanuel knew, through Plaintiff’s complaints to Mr. Calamari and Mr.

Schirtzer, that Mr. Eskanos had constantly singled out and sabotaged Plaintiff’s ability to do his

job for years. And yet, rather than take any disciplinary action against Mr. Eskanos, Quinn

Emanuel instead (1) had demoted Plaintiff and gave his job to Mr. Mitchell without even having

the courtesy to inform Plaintiff beforehand; and (2) was knowingly allowing Mr. Eskanos to hang

Plaintiff out to dry with respect to the Windows 10 rollout in the New York office, thus

encouraging and enabling his discriminatory and retaliatory conduct.

       63.     Plaintiff, who was already severely stressed by the discriminatory and retaliatory

treatment he had suffered over the years, the lack of support from his employer, and the constant

pressure from Mr. Eskanos to roll out Windows 10 prematurely, could not take it any longer.

       64.     On May 10, 2019, Plaintiff suffered a breakdown and was involuntarily committed

to the Jersey City Medical Center for three days.

       65.     On May 18, 2019, Plaintiff sent a text message to Jennifer Barrett, one of the

managing partners of Quinn Emanuel’s New York office, in which he informed her that he needed

to discuss Ms. Folger and Mr. Mitchell’s conduct.




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       66.     On May 19, 2019, Plaintiff was instructed to appear on a conference call with

several partners in Quinn Emanuel’s New York office during which Quinn Emanuel terminated

Plaintiff’s employment.

       67.     Later that day, Plaintiff was involuntarily committed for a second time and was

diagnosed with bipolar disorder.

       68.     Throughout his employment with Quinn Emanuel, Plaintiff consistently received

outstanding performance reviews from the attorneys in Quinn Emanuel’s New York office.

       69.     Plaintiff has been unable to secure new employment since his May 2019

termination.

       70.     In January 2020, Plaintiff was hospitalized after he attempted to commit suicide.

                              FIRST CLAIM FOR RELIEF
                Race/Ancestry Discrimination & Hostile Work Environment
                                    (42 U.S.C. § 1981)
                          (Against Defendant Quinn Emanuel)

       71.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

       72.     In violation of 42 U.S.C. § 1981, Quinn Emanuel intentionally discriminated

against Plaintiff on the basis of his Hispanic race and/or his Spanish ancestry.

       73.     Quinn Emanuel’s discriminatory acts included, but were not limited to, subjecting

Plaintiff to a hostile work environment, increased scrutiny, and threats of termination; stripping

Plaintiff of his job duties and demoting him; and terminating Plaintiff’s employment.

       74.     As a direct and proximate result of Quinn Emanuel’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.




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       75.     As a direct and proximate result of Quinn Emanuel’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial non-monetary damages, including, but not limited

to emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       76.     Quinn Emanuel’s conduct was outrageous and malicious, was intended to injure,

and was done with reckless indifference to Plaintiff’s statutorily-protected civil rights.

       77.     As a result of Quinn Emanuel’s unlawful conduct, Plaintiff is entitled to

compensatory damages, including but not limited to lost wages; damages for emotional distress;

punitive damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal

and equitable relief as just and proper.

                                 SECOND CLAIM FOR RELIEF
                                            Retaliation
                                        (42 U.S.C. § 1981)
                               (Against Defendant Quinn Emanuel)

       78.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

       79.     In violation of 42 U.S.C. § 1981, Quinn Emanuel intentionally retaliated and

discriminated against Plaintiff for engaging in the protected activity of opposing and reporting

incidents of discrimination based on his Hispanic race and/or Spanish ancestry.

       80.     Quinn Emanuel’s retaliatory and discriminatory acts included, but were not limited

to, subjecting Plaintiff to a hostile work environment, increased scrutiny, and threats of

termination; stripping Plaintiff of his job duties and demoting him; and terminating Plaintiff’s

employment.

       81.     As a direct and proximate result of Quinn Emanuel’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial monetary damages, including, but not limited to,



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loss of income, including past and future salary.

       82.      As a direct and proximate result of Quinn Emanuel’s unlawful conduct, Plaintiff

has suffered, and continues to suffer, substantial non-monetary damages, including, but not limited

to emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       83.      Quinn Emanuel’s conduct was outrageous and malicious, was intended to injure,

and was done with reckless indifference to Plaintiff’s statutorily-protected civil rights.

       84.      As a result of Quinn Emanuel’s unlawful conduct, Plaintiff is entitled to

compensatory damages, including but not limited to lost wages; damages for emotional distress;

punitive damages; pre- and post-judgment interest; attorneys’ fees and costs; and such other legal

and equitable relief as just and proper.

                           THIRD CLAIM FOR RELIEF
                     Discrimination/Hostile Work Environment
   (New York City Human Rights Law (“NYCHRL”) - N.Y.C. Admin. Code § 8-107(7))
              (Against Defendants Quinn Emanuel and David Eskanos)

       85.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

       86.      In violation of the NYCHRL, Quinn Emanuel and David Eskanos intentionally

discriminated    against   Plaintiff   on   the     basis   of   his   race   and/or   his   Spanish

ancestry/ethnicity/national origin.

       87.      The discriminatory acts of Quinn Emanuel and David Eskanos included, but were

not limited to, subjecting Plaintiff to a hostile work environment, increased scrutiny, and threats

of termination; stripping Plaintiff of his job duties and demoting him; and terminating Plaintiff’s

employment.

       88.      As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful



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conduct, Plaintiff has suffered, and continues to suffer, substantial monetary damages, including,

but not limited to, loss of income, including past and future salary.

        89.      As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial non-monetary damages,

including, but not limited to emotional distress, physical pain and suffering, damage to Plaintiff’s

good name and reputation, lasting embarrassment, and humiliation.

        90.      The conduct of Quinn Emanuel and David Eskanos was outrageous and malicious,

was intended to injure, and was done with reckless indifference to Plaintiff’s statutorily-protected

civil rights.

        91.      As a result of Quinn Emanuel and David Eskanos’s unlawful conduct, Plaintiff is

entitled to compensatory damages, including but not limited to damages for emotional distress,

physical injuries, and medical treatment; punitive damages; attorneys’ fees and costs; and such

other legal and equitable relief as this Court deems just and proper.

                              FOURTH CLAIM FOR RELIEF
                                        Retaliation
              (New York City Human Rights Law - N.Y.C. Admin. Code § 8-107(7))
                   (Against Defendants Quinn Emanuel and David Eskanos)

        92.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        93.      In violation of the NYCHRL, Quinn Emanuel and David Eskanos intentionally

retaliated and discriminated against Plaintiff for engaging in the protected activity of opposing and

reporting incidents of discrimination/harassment based on his race and/or his Spanish

ethnicity/ancestry/national origin.

        94.      The retaliatory and discriminatory acts of Quinn Emanuel and David Eskanos

included, but were not limited to, subjecting Plaintiff to a hostile work environment, increased



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scrutiny, and threats of termination; stripping Plaintiff of his job duties and demoting him; and

terminating Plaintiff’s employment.

        95.     Each of the retaliatory and discriminatory acts perpetrated against Plaintiff was

reasonably likely to deter a person from engaging in protected activity.

        96.     As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial monetary damages, including,

but not limited to, loss of income, including past and future salary.

        97.     As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial non-monetary damages,

including, but not limited to emotional distress, physical pain and suffering, damage to Plaintiff’s

good name and reputation, lasting embarrassment, and humiliation.

        98.     The conduct of Quinn Emanuel and David Eskanos was outrageous and malicious,

was intended to injure, and was done with reckless indifference to Plaintiff’s statutorily-protected

civil rights.

        99.     As a result of Quinn Emanuel and David Eskanos’s unlawful conduct, Plaintiff is

entitled to compensatory damages, including but not limited to damages for emotional distress,

physical injuries, and medical treatment; punitive damages; attorneys’ fees and costs; and such

other legal and equitable relief as this Court deems just and proper.

                            FIFTH CLAIM FOR RELIEF
                      Discrimination/Hostile Work Environment
     (New York State Human Rights Law (“NYSHRL”) - N.Y. Exec. Law § 296 et seq.)
                     (Against Quinn Emanuel and David Eskanos)

        100.    Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        101.    In violation of the NYSHRL, Quinn Emanuel and David Eskanos intentionally



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discriminated      against   Plaintiff   of   the   basis   of   his    race   and/or   his   Spanish

ethnicity/ancestry/national origin.

        102.      The discriminatory acts of Quinn Emanuel and David Eskanos included, but were

not limited to, subjecting Plaintiff to a hostile work environment, increased scrutiny, and threats

of termination; stripping Plaintiff of his job duties and demoting him; and terminating Plaintiff’s

employment.

        103.      As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial monetary damages, including,

but not limited to, loss of income, including past and future salary.

        104.      As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial non-monetary damages,

including, but not limited to emotional distress, physical pain and suffering, damage to Plaintiff’s

good name and reputation, lasting embarrassment, and humiliation.

        105.      The conduct of Quinn Emanuel and David Eskanos was outrageous and malicious,

was intended to injure, and was done with reckless indifference to Plaintiff’s statutorily-protected

civil rights.

        106.      As a result of Quinn Emanuel and David Eskanos’s unlawful conduct, Plaintiff is

entitled to compensatory damages, including but not limited to damages for emotional distress,

physical injuries, and medical treatment; punitive damages; attorneys’ fees and costs; and such

other legal and equitable relief as this Court deems just and proper.

                                 SIXTH CLAIM FOR RELIEF
                                         Retaliation
                (New York State Human Rights Law - N.Y. Exec. Law § 296 et seq.)
                         (Against Quinn Emanuel and David Eskanos)

        107.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they



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were set forth again herein.

          108.   In violation of the NYSHRL, Quinn Emanuel and David Eskanos intentionally

retaliated and discriminated against Plaintiff for engaging in the protected activity of opposing and

reporting incidents of discrimination/harassment based on his Spanish ethnicity/ancestry/national

origin.

          109.   The retaliatory and discriminatory acts of Quinn Emanuel and David Eskanos

included, but were not limited to, subjecting Plaintiff to a hostile work environment, increased

scrutiny, and threats of termination; stripping Plaintiff of his job duties and demoting him; and

terminating Plaintiff’s employment.

          110.   Each of the retaliatory and discriminatory acts perpetrated against Plaintiff was

reasonably likely to deter a person from engaging in protected activity.

          111.   As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial monetary damages, including,

but not limited to, loss of income, including past and future salary.

          112.   As a direct and proximate result of Quinn Emanuel and David Eskanos’s unlawful

conduct, Plaintiff has suffered, and continues to suffer, substantial non-monetary damages,

including, but not limited to emotional distress, physical pain and suffering, damage to Plaintiff’s

good name and reputation, lasting embarrassment, and humiliation.

          113.   The conduct of Quinn Emanuel and David Eskanos was outrageous and malicious,

was intended to injure, and was done with reckless indifference to Plaintiff’s statutorily-protected

civil rights.

          114.   As a result of Quinn Emanuel and David Eskanos’s unlawful conduct, Plaintiff is

entitled to compensatory damages, including but not limited to damages for emotional distress,




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physical injuries, and medical treatment; punitive damages; attorneys’ fees and costs; and such

other legal and equitable relief as this Court deems just and proper.

                               SEVENTH CLAIM FOR RELIEF
                        Aiding and Abetting Discrimination/Retaliation
               (New York City Human Rights Law - N.Y.C. Admin. Code § 8-107(6))
                              (Against Defendant Peter Calamari)

        115.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        116.      The NYCHRL prohibits conduct that aids and abets unlawful discrimination and/or

retaliation.

        117.      In violation of the NYCHRL, Defendant Peter Calamari aided and abetted the

discriminatory and retaliatory conduct of David Eskanos by participating in that conduct, enabling

that conduct, and/or failing to adequately investigate and take adequate remedial action in response

to that conduct.

        118.      As a direct and proximate result of Peter Calamari’s unlawful conduct, Plaintiff has

suffered, and continues to suffer harm and is entitled to all legal and equitable remedies under the

NYCHRL, including compensatory damages; punitive damages; attorneys’ fees and costs; and

such other legal and equitable relief as this Court deems just and proper.

                               EIGHTH CLAIM FOR RELIEF
                       Aiding and Abetting Discrimination/Retaliation
                 (New York State Human Rights Law - N.Y. Exec. Law § 296(6))
                             (Against Defendant Peter Calamari)

        119.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if they

were set forth again herein.

        120.      The NYSHRL prohibits conduct that aids and abets unlawful discrimination and/or

retaliation.




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          121.   In violation of the NYSHRL, Defendant Peter Calamari aided and abetted the

discriminatory and retaliatory conduct of David Eskanos by participating in that conduct, enabling

that conduct, and/or failing to adequately investigate and take adequate remedial action in response

to that conduct.

          122.   As a direct and proximate result of Peter Calamari’s unlawful conduct, Plaintiff has

suffered, and continues to suffer harm and is entitled to all legal and equitable remedies under the

NYSHRL, including compensatory damages; punitive damages; attorneys’ fees and costs; and

such other legal and equitable relief as this Court deems just and proper.



WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

                   (a)   Enter a declaratory judgment that the acts and practices of Defendants

complained of herein are in violation of 42 U.S.C. § 1981 and the laws of the State and City of

New York.

                 (b)     Enjoin and permanently restrain Defendants’ violations of 42 U.S.C. § 1981

and the laws of the State and City of New York.

                 (d)     Award Plaintiff damages including, but not limited to, lost wages,

compensation for his humiliation and emotional distress and suffering, in an amount to be

determined at trial, and punitive damages, together with interest thereon from the time of the initial

loss until satisfaction of judgment as well as with post-judgment interest thereon;

                   (e)   Award Plaintiff the costs of this action, together with reasonable attorney’s

fees;

                 (f)     Grant Plaintiff such other and further relief this Court deems necessary and

proper.




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                                       JURY DEMAND

      Plaintiff demands trial by jury on all counts so triable.


Dated: New York, New York
       March 23, 2021

                                                     Respectfully submitted,

                                                     JOSEPH & KIRSCHENBAUM LLP


                                                     By: ___________________________
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